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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

ROBERT MARTIN and KRISTIN
ARMSTRONG individually and on behalf
of all others similarly situated,

Plaintiffs,
Case No. 6:14-cv-1290-ORL-31KRS
v.
CLASS ACTION
GLOBAL MARKETING RESEARCH
SERVICES, INC., a Florida corporation,
And JOHN DOES 1-100,

Defendants.

Nee ee ee eS”

 

DEFENDANT'S MOTION TO VACATE IN PART ORDER GRANTING LEAVE
TO AMEND COMPLAINT OR FOR RECONSIDERATION
AND FOR SANCTIONS WITH MEMORANDUM OF LAW IN SUPPORT

Defendant Global Marketing Research Services, Inc. ("Global Marketing"), by counsel,
respectfully moves pursuant to Local Rule 3.01 to vacate in part this Court's Order [DE 47]
allowing amendment of Plaintiffs’ Complaint, or for reconsideration and for sanctions. In
support, Defendant states:

IL RELIEF REQUESTED:

A. Vacate the June 25, 2015 Order in part to the extent permitting an amendment of
the Complaint to carve out California and Pennsylvania from the proposed national class
definition, or;

B. Grant Defendant an opportunity to be heard on Plaintiffs' Motion to Amend
because the June 25 Order was entered before any chance by Defendant to address numerous

factual inaccuracies in Plaintiffs' Motion and improprieties in the amended action,

c Award Sanctions against Plaintiffs' counsel.
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Il. STATEMENT _ OF PROCEDURAL POSTURE AND BASIS FOR RELIEF
SOUGHT:

1, The original Class Action Complaint [DE 1] filed in the name of representative
Plaintiff Walsh, was commenced on August 11, 2014 against Defendant. The basis of the action
was claimed violations of the Telephone Consumer Protection Act, 47 U.S.C.A. § 227
("TCPA"). The Walsh Complaint requested a class definition to include all cell phone users
receiving an unwanted cell call from Global Marketing throughout the United States. [DE 1,
426].

2. After preliminary motions, this Court entered its Trial Scheduling Order [DE 28]
setting discovery deadlines and a Trial date including the directive to mediate the claims. [DE
29].

35 Nearly one year after filing suit pursuing national class certification, Plaintiffs’
counsel filed their motion to change the representative plaintiffs, but more significant though
more subtle, to change the defined class in this Florida action to carve out cell users in California
and Pennsylvania. See Amended Complt., 931 [DE 45].

4, Plaintiffs’ counsel has filed Complaints in California (Exhibit A) and
Pennsylvania (Exhibit B) alleging an identical TCPA cause of action. The California Complaint
was filed weeks before any Order in this Court permitting such amendment; the Pennsylvania
Complaint filed the same day as, yet also before, entry of the June 25, 2015 Order.

5. This Motion to amend was granted without any consideration of possible defense
objections [DE 47], thus denying Defendant an opportunity to be heard. It is believed the part of
the amendments as to a new gerrymandered scope of class plaintiffs was overlooked in granting

leave to amend.
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Ill. LEGAL ARGUMENT

6. Plaintiffs' Motion to amend and its stated grounds, is stunning in its violation of
clear prohibitions on disclosure of confidential settlement communications. The amendments to
the pleadings only arose after impasse reached during extended Court-ordered Mediation
negotiations. Plaintiffs’ harassment of Defendant by the proliferation of these lawsuits is plainly
in retaliation for a breakdown in settlement negotiations over issues having no affect on any
putative plaintiff. Plaintiffs’ Motion to amend and the amendments themselves are a violation of
Fed. R. Evidence Rule 408, this Court's local rule 9.07, and the Mediation Confidentiality
Agreement signed by Plaintiffs’ counsel (Exhibit C).

q. Undersigned counsel shall address these confidentiality violations in camera at an
appropriate hearing on this Motion so as not to himself violate the Mediation confidentiality
prohibitions.

8. The request to drop Walsh as Plaintiff, based on defense counsel requiring her to
be deposed in Boca Raton was knowingly false.

9. As to the carve out of California and Pennsylvania, there were no reasons given
why separate lawsuits are necessary in California or Pennsylvania nor any proffer for some
different factors impacting on cell users in these other jurisdictions. The simple truth is that the
sole purpose of these carve-outs and these two other lawsuits is to harass Defendant by forcing it
to litigate identical issues all over the country.

10. Due to this needless proliferation of these three (3) class action suits, Defendant
has moved for their dismissal in each of the other federal courts under "first-to-file" rules and the
improper splitting of Plaintiffs' cause of action. The California federal court, Hon. Maxine M.

Chesney presiding, has set a case management conference to address this Motion to Dismiss on
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October 23, 2015 in San Francisco. The Pennsylvania federal court, Hon. Anita B. Brody
presiding, has set a hearing on the Motion to Dismiss for August 3, 2015. Defendant's Motion to
Dismiss the California action is attached as Exhibit D. The Pennsylvania Motion to Dismiss is
attached as Exhibit E. These two other identical lawsuits have already spawned extensive
pleadings and motions with disingenuous submissions by Plaintiffs' counsel that the Florida case
is not really a related case based on the bootstrapped proposition that having removed California
and Pennsylvania from the proposed class definition in our Florida case, counsel is free to sue
Global Marketing on identical claims in these other courts.

11. This self-serving argument with such amended carve outs is prohibited under
action-splitting, first-to-file principles. Katz v. Gerardi, 655 F. 3d 1212, 1217 (10th Cir. 2011);
Adams v. Calif. Dept. of Health Services, 487 F. 3d 684, 688 (9th Cir 2007); Berger v.
Weinstein, 2008 WL 4858318 (E.D. Pa. 2008); Hartsel Springs Ranch of Colo., Inc. v.
Bluegreen Corp., 296 F. 3d 982 (10th Cir. 2002); Wright & Miller, 18A Fed. Prac. & Pro. § 4406
(2d ed. 2011).

12. As an alternative to dismissals, Defendant has already moved in these other
actions for a 1404(a) transfer if not Multi-District consolidation here in the Middle District of
Florida, Had either of these other Complaints been filed first in time with the same rational
scope of the intended class, this Court would most likely have applied the same "first-to-file" or
transfer principles to dismiss or transfer any later-filed Florida carve-out case. Ingram-Fleming

v. Lowe's Home Center, LLC, 2015 WL 456509 (M.D. Fla. 2015); Rudolph and Me, LLC v.

 

Ornament Central, LLC, 2011 WL 3919711 (M.D. Fla. 2011); see also, Seal Shield, LLC v.

 

Otter Products, LLC, 2013 WL 6017330 (M.D. Fla. 2013).

 
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13. Moreover, the amendment of the class as pretext for this vexatious litigation in
these other jurisdictions was done in bad faith. Forman v. Davis, 371 U.S. 178, 182 (1962); GSS
Properties, Inc. v. Kendale Shopping Center, Inc., 119 F.R.D. 379, 381 (M.D. N.C. 1988).
Defendant respectfully asserts that when this Court reviewed Plaintiffs’ motion to amend, this
issue of creating some back door right to file similar suits in other courts was overlooked.

14. Worse yet, while uncertain if such statement was truthful or flippant, Plaintiffs'
counsel has recently advised of likely similar new filings in yet other jurisdictions.

15. | Whatever the merits of changing the representative plaintiffs in this case, to
replace Martin and Armstrong for Walsh (improperly done on false premise and only after
extensive settlement negotiations as to the lack of standing by Walsh), there is simply no factual
or legal support for a watered down definition of cell users nationally as the basis to allow
identical, overlapping lawsuits in other federal courts. Plaintiffs' counsel have plainly thumbed
their noses at the time-honored rules promoting judicial economy while embarking on an
inescapable, abusive, multi-jurisdiction vendetta against Defendant in violation of Fed.R.C.P.,
Rule 11(b), all arising from failed settlement talks.

16. Out of State lead counsel Messrs. Woodrow and Peluso, who are masterminding
all three of these class actions should be admonished and sanctioned for such conduct pursuant to
Fed.R.C.P., Rule 11(c)(3).

17. The undersigned certifies pursuant to Rule 3.01(g) that he has conferred with
opposing counsel on this motion and these other class actions recently filed in good faith attempt
to resolve these matters, that Plaintiffs will not withdraw them and thus the issues raised in this

Motion cannot be resolved without Court review.
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WHEREFORE, Defendant Global Marketing Research Services moves for entry of an
Order:

a. Vacating its June 25, 2015 Order to the extent allowing amendment of the
national class definition or otherwise allowing the proliferation of similar class actions in other
jurisdictions;

b. Alternatively, holding in abeyance any ruling on Plaintiffs' Motion to amend the
Complaint pending a hearing and opportunity for Defendant to be heard on these issues including
in camera comments as necessary to address confidentiality misconduct by Plaintiffs' counsel;

e Award of sanctions against Plaintiffs' counsel in favor of Defendant for its
attorneys' fees and costs incurred in the needless defense of the California lawsuit, Pennsylvania
lawsuit, and this Motion pursuant to Rule 11(c)(3); and

d. For all other relief as this Court deems proper and just.

Dated: July Sl, 2015.
GLOBAL MARKETING RESEARCH

SERVICES, INC., Defendant,

B

 

y:
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CERTIFICATE OF SERVICE

I hereby certify that on July 30, 2015, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to any non-CM/ECF participant(s).

 

SERVICE LIST

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